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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
Case Number: 17-20158-CIV-MARTINEZ-GOODMAN-—¥#_—_—______
. (Criminal Case Number: 12-20496-CR-MARTINEZ)

_ THOMAS KEELAN,
Petitioner, |

VS.

UNITED STATES OF AMERICA,
Respondent.
/

 

ORDER DENYING PRO SE MOTION

THIS CAUSE is before the Court upon Petitioner’s “Pro Se Motion to Allow Withdrawal
of Paul Petruzzi Without Censure Prior to Objections to R and R,” [ECF No. 28]. The Court has
considered the pro se Motion and is otherwise fully advised in the premises. For the following

reasons, Petitioner’s pro se Motion is DENIED.

As an initial manner, the Local Rules for the Southern District of Florida prohibit a party
from representing him or herself while represented by counsel. See S.D. Fla. L.R. 11.1(d)(4)
(“Whenever a party has appeared by attorney, the party cannot thereafter appear or act on the
party’s own behalf...unless an order of substitution shall first have been made by the Court....’”’);
see also United States v. Dale, 618 F. App’x 494, 497-98 (11th Cir. 2015) (finding no abuse of

discretion where district court denied Defendant’s pro se motion in violation of the Local Rule).

Nonetheless, the Court may construe the motion as a motion to proceed pro se. Although
“a party in a civil proceeding, such as a section 2255 proceeding, has a statutory right to proceed
pro se, 28 U.S.C. § 1654,” the Court declines to permit Petitioner to proceed pro se for additional

reasons. See Anderson v. United States, 948 F.2d 704, 706 n.3 (11th Cir. 1991). Petitioner’s motion
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sets forth no basis for removal of his counsel other than the belief that should his attorney challenge
certain issues Petitioner finds pertinent to his claims, he would be “subject to retaliation by the
police” and “would be causing himself professional harm.” [ECF No. 28 at 1-2]. There is no
evidence in the record to support such a claim. Nor has Mr. Petruzzi—Petitioner’s counsel—
indicated agreement with such a proposition. See Anderson, 948 F.2d at 706 n.3 (prohibiting
appellant to proceed pro se when his “allegations raise concerns regarding his competency to make
such a choice”). Should Mr. Petruzzi have good cause to withdraw from the case, he may bring it

to the Court’s attention through a proper motion to withdraw or substitute counsel.
Accordingly, after careful consideration, it is hereby:
ORDERED AND ADJUDGED that

1. Petitioner’s “Pro Se Motion to Allow Withdrawal of Paul Petruzzi Without Censure
Prior to Objections to R and R,” [ECF No. 28], is DENIED.

DONE AND ORDERED in Chambers at Miami, a “S S day ee 2020.

 

JOSE E. On J
UNITED STATES DISTRICT JUDGE

Copies provided to:
Magistrate Judge Goodman
All Counsel of Record
Thomas Keelan
